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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND


 STATE OF RHODE ISLAND, et al.,

                       Plaintiffs,

        v.
                                                      No. 25-cv-00128
 DONALD J. TRUMP, in his official
 capacity as President of the United States,
 et al.,

                       Defendants.


                                     NOTICE OF APPEAL

       Defendants— Donald J. Trump, in his official capacity as President of the United States;

Institute of Museum and Library Services; Keith E. Sonderling, in his official capacity as Acting

Director of the Institute of Museum and Library Services; Minority Business and Development

Agency; Madiha D. Latif, in her official capacity as Deputy Under Secretary of Commerce for

Minority Business Development; Howard Lutnick, in his official capacity as Secretary of

Commerce; Federal Mediation and Conciliation Service; Gregory Goldstein, in his official

capacity as Acting Director of the Federal Mediation and Conciliation Service; U.S. Office of

Management and Budget; and Russell T. Vought, in his official capacity as Director of the Office

of Management and Budget—respectfully provide notice that they hereby appeal to the United

States Court of Appeals for the First Circuit the Court’s May 6, 2025 opinion (ECF No. 57) and

May 13, 2025 order (ECF No. 60), which granted Plaintiffs’ April 4, 2025 motion, and entered a

preliminary injunction order against Defendants.
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Dated: May 16, 2025                Respectfully submitted,

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